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                               EQUIPMENT BY FIELD
          Field        Amount Equipment Name
          Lake Long        1      Steel Production Barge
                           2      HP Separators
                           1      Flare/Suction Separator
                           5      LP Separators
                           2      Dehydration Units - (1 at Square Mile Barge)
                           1      Steel Barge at Square Mile Barge
                           2      Heater Treaters
                           2      1500 Bbl Bolted Galvanized Oil Tanks
                           1      1500 Bbl Bolted Water Tank
                           1      400 Bbl Fiberglass Water Tank
                           1      SWD Pump - Natural Gas Driven
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                              EQUIPMENT BY FIELD
       Field         Amount      Equipment Name
       Lapeyrouse         1      Lact Skid with Electric Pumps
                          2      SWD pumps (1- Electric; 1 - Natural Gas Driven)
                          1      800 Bbl Oil Tank
                          1      400 Bbl Oil Tank
                          3      400 Bbl SWD Tanks
                          1      500 Bbl SWD Tank
                          1      Bulk LP Separator
                          1      Exposito #3 LP Separator
                          1      HP Bulk Separator
                          3      HP Separators
                          2      LP Separators
                          1      Flare Separator
                          1      Fuel Gas Separator
                          1      Dehydration Unit
                          2      Line Heaters
                          1      HP Separator at ALM #1
                          1      LP Separator at ALM #1
                          1      Fuel Gas Separator at ALM #1
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                             EQUIPMENT BY FIELD
         Field               Amount      Equipment Name
         Little Lake NHTB         2      Heater Treaters
                                  1      Fuel Gas Separator
                                  1      Bulk Separator
                                  2      Test HP Separators
                                  1      Test LP Separator
                                  2      SWD Pumps - Nat Gas Driven
                                  1      Flare Separator
                                  2      Fiberglass 400 Bbl SWD Tanks
                                  5      1500 Bbl Bolted Galvanized Oil Tanks
                                  1      Sump Tank
                                  1      Dehydration Unit
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                             EQUIPMENT BY FIELD
        Field               Amount      Equipment Name
        Little Lake West         2      Heater Treaters
                                 1      Horizontal LP Separator
                                 2      Vertical LP Separators
                                 7      Tanks (400 and 500 Bbl)
                                 1      Dehydrator
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                             EQUIPMENT BY FIELD
         Field             Amount      Equipment Name
         West Delta 84          1      Generator
                                1      Electric Oil Pump
                                1      Bulk Separator
                                1      Skimmer
                                2      500 Bbl Tanks

         Burrwood               1      Production Barge
                                1      SWD Pump
                                2      Oil Pumps
                                1      LACT Skid
                                1      Generator
                                3      1500 Bbl Tanks
                                2      Treaters
                                1      Bulk Separator
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                                           EQUIPMENT BY FIELD
Field         Amount   Equipment Name
Timbalier Bay   2      Offshore 4 Pipe Structures with 60’ Long Boat Dock and 2 Stair Ways going up to Platform
                1      25 Ton Crane
                1      3 Stage Ariel Compressor driven by a Caterpillar 3516 Tale Engine
                1      Gas Generator/150 KW
                1      Lact Skid with 2 Lact Pumps and 2 Meter Heads
                1      Proving Loop
                1      P/L Skid with 2 Pumps
                1      LP Bulk Separator
                2      LP Test Separators
                2      Heater Treaters
                1      400 Bbl Bad Oil Tank
                1      400 Bbl Good Oil Tank
                1      500 Bbl Produced Water Tank
                1      Water Skimmer
                1      Blowdown Tank
                1      Suction Scrubber
                1      Flare Scrubber
                1      Fuel Scrubber Skid
                1      Contact Tower
                1      Glycol Reboiler
                1      Hydrocarbon Skimmer
                1      VRU Unit
                1      Sump
                1      Redd Fox Unit
                1      MCC Room with Switch Gear and Motor Controls
                1      SWD Pump
                3      Quarters Buildings/Galley Included
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                               EQUIPMENT BY FIELD
      Field           Amount      Equipment Name
      Ship Shoal 45        1      Bulk Heater Treater
                           1      Chem Electric
                           1      Degasser
                           1      VRU Compressor
                           1      Desander
                           1      WKO Separator
                           1      SWD Treater
                           1      Wemco Unit
                           1      Redd Fox Unit
                           1      Bulk Separator
                           3      LP Test Separators
                           1      Line Heater
                           1      HP Separator
                           2      LACT Skids with Charge Pump and Proving Loop
                           1      Office Building
                           1      Bunk Room
                           1      Crane
                           1      Sump Tank

      Ship Shoal 65        1      Hydraulic Crane
                           1      Fuel Gas Separator
                           1      Sump Tank
